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           EXHIBIT A
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SAVATI™
                                                                                                       AERSPACE




                                                                            J
                            STVTl AEOSRCE LTD

                            PROMISSORY NOTE
F vau v  ug ava a    a 9400 P a Nagaa

FaNY 4304   a        Valntno Demitrov  
a 4525 Da Ma D #400 a Vga NV 903 a a u  000 000  00 mu
 500 % 5 u  a  b ag   g  a 


                                             TERMS AND CONDITIONS
Pomse o Pay

W -g 48  g    a    a avar  
a a    a  Pa u   000 00000   FFO f   u
Basis Labi:-=.4:,'
                                            :_ I
ava a    ab  ag bak e g u  au

Deals of oans Ageed Beteen Boowe and ende


 Fbua 25 2022                  000 000 00               5x 5 000  000 00       4 M


     ell A: Dae o Loa     Cel B Amou o Loa ($ SO)   Cell C Prof Paricipato   CeU 0 Dae o Repaymen

Paymen of oan

T Pa a b a  a qua ba a  j g T a date will b
au a     j au a
Ta P Paa $5 000  000  00 Fv M

Pa Pa:  000 00000 O M

Pa au  b a  u  Ma  20 22

Coaera

   e Ia ava oa /  a     w  000 000
sa  k P k  ava a   av   vb  000  000
a  k "  ua       Pa   u O ava a
d B a    ul a amu   000 00000 FIFO bak h
P k  ava Ana Ld.  ad, ad ud  bak  h cmpay (Sa_vat
 a d T k O v O a h Fi Rgh Caa Pv1 )
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                 ™
AVA                                                                                                                    AEROPACE

Goverance

 o e a be overe b an ons                       an enoe  aoane  e as o e ae o
e ok n e on o Naaa

Notices

l noe o oe ommunaons sa be n n an a be evee b an o maie b egee
o ee ma o by ema  epen veaon o e degned a e adde se o ae 
name a snae beo an o e Compa a e oowg adde 9400 Poe Roa, Nagaa Fas
Y 14304 USA th an ema aes o aeopace@ava.om

IN ITNESS WHEREOF T Noe as been Aepe b A o e Foon Efeve Dae:

Mr.Valenino Demiriov                                                      Savati Aerospace Ld




                               GNUR)
                                                                                                                                -
       eto Demro                                                                    Chsopher  Bes
                              PRN NA)
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  455 Den Mr Dr, #400                                                                             Poe Road
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                          SZP D                                                     (IT-.P O




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                                 mi l                                                                  rl



      2/27/2022
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                      CPD ND FF DE                                                          D)




                                          S\TI AER©SPACE LD
                                                               L6
 R F                  OI                                                     KE                CN            O
 1 P o                                                    WT -7                                                       5 G 
                          2        t                                  s  ◄ S          4  g e
 a D&           8         hd            p c@vuc        VMy0              mr A           Bl, Y
 3                                         p:w.c                     kin             9 A        ' U
